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 1 JAMIE LYNN GALLIAN

 2 16222 Monterey Lane Unit 376
   Huntington Beach, CA 92649
 3 (714)321-3449 jamiegallian@gmail.com

 4 IN PRO PER

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 7                                UNITED STATES BANKRUPTCY COURT

 8                   CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 9    In re                                               Case No. 8:21-bk-11710-ES

10    JAMIE LYNN GALLIAN,                                 Chapter 7

11                      Debtor.                           REQUEST TO DISMISS DEBTOR’S NOTICE
                                                          OF APPEAL WITHOUT PREJUDICE RE:
12                                                        DOC. NO. 143, DOC 161, and DOC 169.
                                                          RESPECTIVELY.
13
                                                          [NO HEARING REQUIRED]
14

15
     TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY JUDGE,
16
     CHAPTER 7 TRUSTEE, JEFFREY O GOLDEN AND ALL INTERESTED PARTIES:
17
              Debtor, Jamie Lynn Gallian (“Ms. Gallian,”) request this Honorable Court dismiss
18
     (“Dismissal without Prejudice”) to dismiss Ms. Gallians’ Notice of Appeal filed July 21, 2022, DOC
19
     143, and debtor’s intended AMENDED Notice of Appeal filed July 28, 2022, DOC 161, and DOC
20
     169, respectively, without prejudice.
21
                                                 RECITALS
22

23
              A.     On July 9, 2021, Debtor Jamie Lynn Gallian, filed a Chapter 7 petition. IN PRO PER.
24
     DOC 1.
25
              B.     The Trustee’s 341 Meeting was concluded on April 29, 2022, DOC 85.
26
              C.     On May 12, 2022, Interested Party Houser Bros. Co. dba Rancho Del Rey Mobile
27
     Home Estates (“Houser Bros.”) filed a “Motion Objecting to Debtor’s Claimed Homestead
28
     Exemption” (“Homestead Motion”), DOC 95.
                                                      1
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 1         D.      On June 1, 2022, Debtor filed “Debtors Reply Opposition, Memorandum of Points
 2   and Authorities to Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates’ Motion Objecting
 3   to Debtor’s Claimed Homestead Exemption and Joinder Interested Parties The Huntington Beach
 4   Gables HOA; and Janine Jasso” (“Homestead Opposition”), DOC 105.
 5         E.      On June 2, 2022, shortly before 10:30 a.m., the Court posted a tentative ruling on the
 6   Houser Bros Co.’s Homestead Motion. The court continued the hearing on the Homestead Motion
 7   to July 21, 2022, at 10:30 a.m. to allow Interested Party Houser Bros. Co. and the Joining Interested
 8   Parties, The Huntington Beach Gables Homeowners Association and former HOA Gables Attorney
 9   and Interested Party Janine Jasso, Esq. to file a reply to Debtor’s Late Opposition filed on June 1,
10   2022, DOC 105.
11         F.      On July 21, 2022, shortly before the 10:30 a.m. Court hearing, the Court Clerk
12   checked the parties in waiting on ZOOM. Shortly thereafter the Court Clerk informed all interested
13   parties including Houser Bros Co. and Debtor, Ms. Gallian, the Court uploaded its Tentative Ruling
14   and to REFRESH the Court’s Tentative Ruling Webpage.
15         G.      The Court published it’s tentative ruling to the CACB Tentative Rulings Web Page.
16   The TR Granted Interested Party Houser Bros Motion (“July 21 TR”).
17         H.      Prior to the Court Clerk reading the Tentative Ruling of 7/21/2022, into the record,
18   Ms. Gallian uploaded and Lodged to the Courts Drop Box for self-represented parties, a “Real
19   Time” Screen Capture of the Status of Ms. Gallian’s Homeowners Exemption active with the
20   Orange County Tax Assessor’s Office since February 25, 2021, DOC 139.
21         I.      After the Court Clerk read the Tentative Rulings on the record, Ms. Gallian indicated
22   to the Court Clerk she would like to be heard on the Court’s Tentative Ruling. The TR was moved
23   to the Regular Calendar.
24         J.      On July 21, 2022, just before 11:00 a.m., the Court held the continued hearing on
25   Houser Bros Co. Motion DOC 95. During the hearing, the Court called on Debtor to present oral
26   argument against the Court’s Tentative Ruling.
27         K.      Debtor emailed the moving party’s counsel. Ed Hays, and the Chapter 7 Trustee,
28   Jeffrey Golden, and his General Counsel, a copy of the Tax Assessor’s “Real Time” information

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 1   lodged DOC 139. Debtor informed and invited the Court to review the “Real Time Screen Capture
 2   Image” sent to debtor before the July 21, 2022, Court hearing from the Tax Assessors Exemption
 3   Department indicating Ms. Gallian’s Homeowners Exemption has been active in Orange County
 4   since February 25, 2021.
 5         L.      Moving Party objected to the Court reviewing the Lodged Real Time Image emailed
 6   to moving party before the Court took the bench. Moving party questioned the “authenticity” of the
 7   Orange County Tax Assessors Real Time Screen Capture presented to the Court.
 8         M.      The Court did not consider the Lodged evidence citing it was not provided to the
 9   Court in the Opposition DOC 105, and it would be “unfair to the Chapter 7 Trustee” if the Court
10   viewed and considered the Lodged Real Time Document from the Orange County Tax Assessors
11   Office, without the Chapter 7 Trustee having an opportunity to review beforehand.
12         N.      The Court orally granted Interested Party Houser Bros Co. Homestead Motion for the
13   reasons stated in its July 21, 2022, tentative ruling.
14         O.      On July 21, 2022, as DOC 140, Debtor filed a second “Notice of Lodgment”
15   attaching a Certified Copy from the Orange County Tax Assessors [sic] Proof of Debtors [sic]
16   Homestead Exemption Effective 2/25/2021 in Support of Opposition to Motion Objecting to
17   Claimed Homestead Exemption” with the Certified Copy from the Orange County Tax Assessor’s
18   Office of the (“Second NOL”).
19         P.      On July 21, 2022, as DOC 143, Debtor filed a “Notice of Appeal and Statement of
20   Election” (“Notice of Appeal”) regarding a “7/21/2022 Ruling Denying Debtors [sic] Declared
21   Homestead and Debtors [sic] Homeowners Exemption Effective February 25, 2021, with the
22   Orange County Tax Assessor Pursuant to California Department of Housing and Community
23   Development Certificate of Title Perfected February 25, 2021.”
24         Q.      On July 26, 2022, Debtor prepared and filed Debtor’s Notice of and Motion for
25   Reconsideration of 7.21.22 Order Sustaining Houser Bros Co DBA Rancho Del Rey Mobilehome
26   Estates Objection to Debtor’s Claimed Homestead Exemption and Joinder Parties Huntington
27   Beach Gables HOA; Janine Jasso, DOC 157. The hearing was set for 8/18/2022, DOC 159.
28         R.      On July 28, 2022, Debtor’s Notice of Appeal and Statement of Election To

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 1   Bankruptcy Appellate Panel (“BAP”) based on Debtor’s Official Form 417A election, and has been
 2   assigned BAP Case No. 22-1146 (“BAP Appeal”). Docket No. 161.
 3         S.      On July 28, 2022, the Bankruptcy Court issued a Deficiency letter to Appellant sent
 4   through the U.S. Mail to debtor, indicating the filing fee was not paid and the NOA did not include
 5   a Stamped Copy Of Order, DOC 165.
 6         T.      On July 29, 2022, the Bankruptcy Court received debtors Appeal Late Noticing Filing
 7   Fee in the amount of $298.00, Receipt No. 80076183.
 8         U.      On August 1, 2022, DOC 167, Debtor filed Notice of Motion and Motion for Leave
 9   from the Bankruptcy Appeal Panel to Permit the Bankruptcy Court to Consider Debtor’s Motion for
10   Re-Consideration (“Reconsideration Motion”) DOC 157. The hearing on the Reconsideration
11   Motion is scheduled for August 18, 2022.
12         V.      On August 2, 2022, Houser Bros. filed an Optional Appellee Statement of Election to
13   Proceed in U.S. District Court. DOC 168.
14         W.      On August 4, 2022, debtor Jamie Lynn Gallian, filed Notice of Appeal and Statement
15   of Election (Official Form 417A) DOC 169.
16         X.      However, the debtor [DID NOT] note the words AMENDED on the face of the NOA
17   to indicate her desire and intention DOC 169 was intended to correct the deficiency letter debtor
18   received in the U.S. Mail related to NOA DOC 161.
19         Y.      On August 4, 2022, Houser Bros. filed a Response to Debtor’s Motion for
20   Reconsideration of 7-21-22 Order Sustaining Houser Bros. Co. dba Rancho Del Rey Mobile Home
21   Estates Objection to Debtor's Claimed Homestead Exemption (“Response”). DOC 170
22         Z.      On August 4, 2022, the Bankruptcy Court issued a second deficiency letter to
23   Appellant through the U.S. Mail, DOC 174. citing the following reasons, $298.00 Filing Fee Not
24   Paid; The Notice of Appeal Does Not Conform Substantially With The Notice Of Appeal And
25   Statement of Election (Official Form 417A: Does Not Include The Title Of Order, Judgment, Or
26   Decree; Does Not Include The Entered Date Of Order, Judgment, Or Decree; Does Not Include
27   Entered Stamped Copy Of Order, Judgment, Or Decree; related document(s) DOC 169 Notice Of
28   Appeal and Statement of Election; (RE al Form 417A) filed by Debtor Jamie Lynn Gallian.

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 1         AA.     On August 4, 2022, a Notice of Referral Of Appeal To United States Bankruptcy
 2   Appellate Panel Of The Ninth Circuit (BAP) with certificate of mailing (RE: related document(s)
 3   161 Notice of Appeal and Statement of Election (Official Form 417A) filed by Debtor Jamie Lynn
 4   Gallian)(Attachments: #1 Notice of Appeal and Statement of Election #2 Notice of Motion and
 5   Motion for Leave From the Bankruptcy Appellate Panel to Permit The Bankruptcy Court to
 6   Consider Debtor’s Motion for Re-Consideration (DOC 157) on August 18, 2022; #3 Notice of
 7   Transcript(s) Designated for an Appeal; #4 Transcript Order Form; #5 Amended Order Continuing
 8   The Bankruptcy Appellant Panel Of The Ninth Circuit.
 9         BB.     On August 4, 2022, Notice Of Referral To United States Bankruptcy Appellate Panel
10   Of The Ninth Circuit (BAP) with certificate of mailing (RE: related document(s) 169 Notice of
11   Appeal and Statement of Election (Official Form 417A) filed by Debtor Jamie Lynn Gallian
12   (Attachments: #1 Notice of Appeal and Statement of Election; #2 Notice of Transcripts Designated
13   for An Appeal; #3 Transcripts Order Form #4 Amended Order Continuing the Bankruptcy
14   Appellant Panel of the Ninth Circuit).
15         CC.     On August 5, 2022, the Court signed and entered Order Granting Houser Bros Co.
16   dba Rancho Dey Rey Mobilehome Estates Motion Objecting to Debtor’s Claimed Homestead
17   Exemption Homestead Motion (“Order”), DOC 177.
18         DD.     On August 11, 2022, Debtor filed a reply to Houser Bros. Response, DOC 185.
19         EE.     On August 12, 2022, the Bankruptcy Appellate Panel filed Opening Letter sent to
20   Debtor through the U.S. Mail, DOC 186
21         FF.     The Parties agree that Notice of Appeal DOC 143 and 161, will be dismissed without
22   prejudice so that the Court can hear the Reconsideration Motion on the Merits, August 18, 2022.
23

24               DEBTOR’S REQUEST TO DISMISS NOTICE OF APPEAL
25                                     WITHOUT PREJUDICE
26         1.      Debtor respectfully requests Appeal DOC 143, DOC 161 and DOC 169,

27         be dismissed without prejudice;

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 1         2.     Debtor may file a Notice of Appeal of the Order and/or any Order on her
 2 Reconsideration Motion on or before the date that is 14 days after entry of the Order on the

 3 Reconsideration Motion pursuant to Rule 8002 of the Federal Rules of Bankruptcy Procedure.

 4

 5 Signed thus 17th day of August 2022, at Huntington Beach, CA. County of Orange.

 6

 7   DATED: August 17, 2022                       Respectfully submitted,

 8                                                ______________________________
 9                                            By:JAMIE LYNN GALLIAN
                                                 Debtor, IN Pro Per
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